Case 2:22-cv-00636-JMV-ESK Document 1-1 Filed 02/08/22 Page 1 of 10 PageID: 7




         EXHIBIT A
       HUD-L-001147-21 03/22/2021 3:07:09 PM Pg 1 of 7 Trans ID: LCV2021768894
Case 2:22-cv-00636-JMV-ESK Document 1-1 Filed 02/08/22 Page 2 of 10 PageID: 8



SEAN T. PAYNE, ESQ. 275652019
GINARTE GALLARDO
GONZALEZ & WINOGRAD, LLP
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NEWARK, NEW JERSEY 07105
(973)854-8400
Our File No.: 259217
Attorneys for Plaintiff Roberto Soto Cedeno
 ROBERTO SOTO CEDENO,                          :   SUPERIOR COURT OF NEW JERSEY
                                               :   LAW DIVISION: HUDSON COUNTY
                                               :   DOCKET NO.: HUD-L-
                                               :
 vs.                                           :             CIVIL ACTION
                                               :
 WALMART, INC., 300-400 PARK                   :   COMPLAINT, JURY DEMAND,
 PLACE DR., INC. JOHN and JANE                 :   DESIGNATION OF TRIAL COUNSEL,
 DOES 1-10, (fictitious unidentified           :   & DISCOVERY DEMANDS
 individuals) and ABC CORP 1-10,               :
 (fictitious unidentifiable business entities) :
                                               :
                                               :

        Plaintiff, Roberto Soto Cedeno, residing 110 Park Plaza Drove in the City of Secaucus,

County of Hudson and State of New Jersey, by way of Complaint against the defendants, hereby

declares:

                                          FIRST COUNT

        1.     On or about April 7, 2019, Plaintiff Roberto Soto Cedeno, was lawfully upon the

premises of the Walmart Supercenter, operated by defendant Walmart, Inc., and which was located

at 300-400 Park Place Drive in the City of Secaucus, County of Hudson, State of New Jersey.

        2.     On the same date and time the property located at 300-400 Park Place Drive in the

City of Secaucus, County of Hudson, and State of New Jersey was owned by defendant 300-400

Park Place Drive, Inc.

        3.     On that date and prior thereto, such premises, including but not limited to the

interior and exterior of said store, were owned, managed, supervised, maintained, constructed,

                                                   1
         HUD-L-001147-21 03/22/2021 3:07:09 PM Pg 2 of 7 Trans ID: LCV2021768894
Case 2:22-cv-00636-JMV-ESK Document 1-1 Filed 02/08/22 Page 3 of 10 PageID: 9



repaired, installed, and/or controlled by defendants Walmart, Inc, 300-400 Park Place Drive, Inc.,

John and Jane Does 1-10, and/or ABC Corps 1-10.

         4.      Defendants, John and Jane Does 1-10 and ABC Corp. 1-10 are fictitious individuals

corporations, public entities or business entities named herein for the expressed purpose of tolling

the applicable statute of limitations and were either the owners, managers, supervisors, operators,

constructed, repaired, and/or maintained the aforesaid premises.

         5.     Defendants, breached their duties to plaintiff Roberto Soto Cedeno, by carelessly,

recklessly, and negligently maintaining, repairing, managing, controlling, operating, constructing,

and/or supervising the aforesaid premises and allowing a slippery substance to accumulate on the

floor of said store.

         6.     As a direct and proximate result of the aforesaid negligence of the Defendants and

each of them, plaintiff, Roberto Soto Cedeno, was caused to slip and fall while walking within the

aforementioned Walmart Superstore, sustained severe and permanent injuries, suffered and in the

future will suffer considerable pain and distress, was required and will be required to obtain medical

attention and treatment and was and will be prevented from engaging in normal activities and

pursuits and has and will incur expenses for medical care and attention and has and will incur lost

wages.

         WHEREFORE, Plaintiff demands judgment against the defendants for damages, interest,




                                        SECOND COUNT

         1.     Plaintiff repeats and re-alleges the allegations of the first two Counts as though set

forth herein.


                                                  2
       HUD-L-001147-21 03/22/2021 3:07:09 PM Pg 3 of 7 Trans ID: LCV2021768894
Case 2:22-cv-00636-JMV-ESK Document 1-1 Filed 02/08/22 Page 4 of 10 PageID: 10



        2.      On the same date, defendants', including the fictitious defendants', negligent failure

to remedy the dangerous and defective condition of the aforesaid premises constituted a breach of

the duty of care owed to business invitees.

        3.      As a result of the defendants' breach of this duty, plaintiff has sustained severe and

permanent injuries; suffered and in the future will suffer considerable pain, was and will require to

obtain medical attention and was and will be prevented from engaging in normal activities and

pursuits and has and will incur lost wages.

        WHEREFORE, Plaintiff demands judgment against the Defendants, for damages, interest,

                Court costs, and any other relief the Court deems fair and just.



                                        THIRD COUNT

        1.      Plaintiff repeats and re-alleges the allegations of the first three Counts as though set

forth herein.

        2.      On or about April 7, 2019, Defendants, including the fictitious defendants,

negligently failed to warn, inform, notify, or otherwise advise plaintiff that a dangerous condition

existed on said premises.

        3.      As a result of the De                                 sustained severe and permanent

personal injuries of body, mind and emotion; endured excruciating pain and suffering; became

disabled and impaired; incurred liabilities for medical care and treatment; lost employment earnings;

and suffered a significant diminution in the quality and enjoyment of life.

        WHEREFORE, Plaintiff demands judgment against the Defendants, for damages, interest,




                                                   3
       HUD-L-001147-21 03/22/2021 3:07:09 PM Pg 4 of 7 Trans ID: LCV2021768894
Case 2:22-cv-00636-JMV-ESK Document 1-1 Filed 02/08/22 Page 5 of 10 PageID: 11



                                           JURY DEMAND

        Plaintiff hereby demands a trial by jury as to all issues.



                             DESIGNATION OF TRIAL COUNSEL

        Pursuant to Rule 4:25-4, the firm of Ginarte Gallardo Gonzalez & Winograd, LLP.,

attorneys for plaintiff, hereby appoint Sean T. Payne, Esq., as trial counsel.



                                          CERTIFICATION

        I hereby certify that the within action is not the subject of any other action or arbitration

proceeding nor is any contemplated.

                                         GINARTE GALLARDO
                                         GONZALEZ & WINOGRAD, LLP
                                         Attorneys for Plaintiff


                                         By:___/s/ Sean T. Payne_________
Dated: March 22, 2021                           Sean T. Payne, Esq.


                    DEMAND FOR ANSWERS TO INTERROGATORIES

        Pursuant to Rule 4:17-1 et seq., Plaintiff hereby demands that all defendants provide answers

to Form C and C(2) interrogatories.


        DEMAND FOR ANSWERS TO SUPPLEMENTAL INTERROGATORIES

        1.       Please state the name of any person or entity who/which is responsible for
operation, cleaning, maintenance, repair, service, management, and supervision of the property
located at or in the immediate vicinity of the property at issue herein.

       2.     State the name of any person or entity who performed any inspection or
maintenance of the interior at the premises located at 300-400 Park Place Drive, Secaucus, NJ in
2019.


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       HUD-L-001147-21 03/22/2021 3:07:09 PM Pg 5 of 7 Trans ID: LCV2021768894
Case 2:22-cv-00636-JMV-ESK Document 1-1 Filed 02/08/22 Page 6 of 10 PageID: 12



       3.       Describe what efforts the defendant made to correct or warn of dangerous
substances in the Walmart store in April of 2019.

       4.       Did the defendant have any procedures for regular inspection of the subject
premises at the time of the incident? If so, please describe such procedures in full detail.

        5.     If the answer to supplemental interrogatory No. 4 is in the affirmative, please
describe by who the inspections were performed and if any written procedure was followed and if
the inspections were documented (please produce the written procedure and documentation of the
inspections).

         6.    If you are claiming any statutory or common law immunity please state the nature of
the alleged immunity and the facts upon which you will rely to establish your claim.

        7.      Provide the name and address of any (non-party) individuals or entities that you
allege are responsible for the subject accident or plaintiffs alleged injuries. Please describe how you
believe those individuals or entities are responsible.

        8.      Do you have procedures which are intended to prevent Accidents such as Plaintiff
suffered? If your answer is in the affirmative, then Identify all written procedures sufficiently so they
may be subpoenaed, and describe all procedures that are not written.


                     DEMAND FOR PRODUCTION OF DOCUMENTS

        Pursuant to Rule 4:18-1, et seq., Plaintiff hereby demands that all defendants provide the

following documents:

        1.       Any and all statements or reports made by any person or entity concerning this civil
action or its subject matter.

       2.      Copies of any and all photographs and video footage in your possession of the
property including the incident location, the alleged condition, or the parties involved in this
accident.

       3.      Copies of any and all estimates, bills, or invoices for work or repair done to the area
where the incident occurred for five years prior and subsequent to the incident.

      4.      Copies of any claims information bureau or other insurance claims searches or other
documents referencing any prior or subsequent injuries and/or claims by the plaintiff.

       5.       Copies of any statements made by any person with regard to the incident or having
to do with the subject matter of this action.



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       HUD-L-001147-21 03/22/2021 3:07:09 PM Pg 6 of 7 Trans ID: LCV2021768894
Case 2:22-cv-00636-JMV-ESK Document 1-1 Filed 02/08/22 Page 7 of 10 PageID: 13



        6.      Copies of any and all expert reports, reports of diagnostic tests, hospital and medical
records, X-rays, CAT scan films, MRI films and any other films and bills relating to any condition or
injury sustained by the plaintiff.

       7.     Copies of all written reports or summaries of oral reports of all expert or treating or
examining physicians along with their curriculum vitae.

       8.       Copies of any and all books, treatises, commentaries, reports, statutes, codes,
ordinances, rules, regulations or other published documents referred to, utilized by or relied upon by
any expert witness whom plaintiff/defendant intends to call at the time of trial.

       9.       Copies of any and all documents, reports, correspondence, blue prints, charts,
diagrams, drawings, graphs, maps, plats, plans, photographs, models or other visual reproductions of
any object, place or thing prepared or utilized by, referred to or relied upon by any expert witnesses,
whether or not you intend on calling them at the time of trial.

       10.    Copies of any and all photographs, diagrams, charts, drawings, maps, plans or
models or other visual reproductions of any object, place or thing related to this litigation.

       11.     All documents, tangible evidence or other items relevant to the incident set forth in


        12.    All deeds for the Property, leases, contracts, work orders, proposals and invoices
regarding any work done at the Property, and maintenance agreements and records regarding the
Property.

        13.     If you are not supplying any statement, report, medical record or other item
requested herein, identify the item; indicate who has possession of the item; specify their address
and state the reason why the items are not being provided.

       14.     All documents referred to by defendant in providing discovery responses.

        15.    Copies of any and all leases in effect on April 7, 2019 for the property located at or
in the immediate vicinity of 300-400 Park Place Drive, Secaucus, NJ.

      16.      Copies of any and all inspection logs maintained for the date of accident and one
month prior to the date of accident.



               DEMAND FOR DOCUMENTS PURSUANT TO RULE. 4:18-2

       Pursuant to R. 4:18-2, demand is hereby made for the production of all documents referred

to in the answer or any other responsive pleading within 5 days hereof.


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       HUD-L-001147-21 03/22/2021 3:07:09 PM Pg 7 of 7 Trans ID: LCV2021768894
Case 2:22-cv-00636-JMV-ESK Document 1-1 Filed 02/08/22 Page 8 of 10 PageID: 14



                                   REQUESTS FOR ADMISSIONS

        Pursuant to R. 4:22-1, Plaintiff hereby demands that you admit or deny the following

statements:


       1.      At the time of the incident, the property where the incident occurred was owned by
the answering defendant.

       2.      At the time of the incident, the property where the incident occurred was under the
control/supervision of the answering defendant.



                DEMAND FOR DISCOVERY OF INSURANCE COVERAGE

        Pursuant to R. 4:10-2 (b) demand is hereby made that you disclose to the undersigned

whether there are any insurance agreements or policies under which any person or firm carrying on

an insurance business may be liable to satisfy part or all of a judgment which may be entered in this

action or to indemnify or reimburse for payments made to satisfy the judgment. If the answer is

"yes" attach a copy of each or in the alternative state, under oath or certification (a) number (b)

name and address of insurer or issuer (c) inception and expiration dates (d) names and addresses of

all persons insured thereunder (e) personal injury limits (f) property damage limits (g) medical

payment limits (h) name and address of person who has custody and possession thereof (i) where

and when each policy or agreement can be inspected and copied., (j) excess coverage, (k) concurrent

coverage, (l) umbrella policies.


                                       GINARTE GALLARDO
                                       GONZALEZ & WINOGRAD, LLP
                                       Attorneys for Plaintiff


                                       By:__/s/ Sean T. Payne_____
Dated: March 22, 2021                         Sean T. Payne, Esq.


                                                 7
          HUD-L-001147-21 03/22/2021 3:07:09 PM Pg 1 of 2 Trans ID: LCV2021768894
Case 2:22-cv-00636-JMV-ESK Document 1-1 Filed 02/08/22 Page 9 of 10 PageID: 15




                        Civil Case Information Statement
Case Details: HUDSON | Civil Part Docket# L-001147-21

Case Caption: SOTO CEDENO ROBERTO VS WALMART,                    Case Type: PERSONAL INJURY
INC.                                                             Document Type: Complaint with Jury Demand
Case Initiation Date: 03/22/2021                                 Jury Demand: YES - 6 JURORS
Attorney Name: SEAN T PAYNE                                      Is this a professional malpractice case? NO
Firm Name: GINARTE GALLARDO GONZALEZ                             Related cases pending: NO
WINOGRAD, LLP                                                    If yes, list docket numbers:
Address: 400 MARKET ST                                           Do you anticipate adding any parties (arising out of same
NEWARK NJ 07105                                                  transaction or occurrence)? NO
Phone: 9738548400
Name of Party: PLAINTIFF : Soto Cedeno, Roberto                  Are sexual abuse claims alleged by: Roberto Soto Cedeno? NO

Name of Defendant’s Primary Insurance Company
(if known): None



       THE INFORMATION PROVIDED ON THIS FORM CANNOT BE INTRODUCED INTO EVIDENCE
                      CASE CHARACTERISTICS FOR PURPOSES OF DETERMINING IF CASE IS APPROPRIATE FOR MEDIATION




Do parties have a current, past, or recurrent relationship? NO
If yes, is that relationship:
Does the statute governing this case provide for payment of fees by the losing party? NO
Use this space to alert the court to any special case characteristics that may warrant individual
management or accelerated disposition:


Do you or your client need any disability accommodations? NO
        If yes, please identify the requested accommodation:


Will an interpreter be needed? NO
         If yes, for what language:


Please check off each applicable category: Putative Class Action? NO Title 59? NO Consumer Fraud? NO




I certify that confidential personal identifiers have been redacted from documents now submitted to the
court, and will be redacted from all documents submitted in the future in accordance with Rule 1:38-7(b)

03/22/2021                                                                                               /s/ SEAN T PAYNE
Dated                                                                                                               Signed
      HUD-L-001147-21 03/22/2021 3:07:09 PM Pg 2 of 2 Trans ID: LCV2021768894
Case 2:22-cv-00636-JMV-ESK Document 1-1 Filed 02/08/22 Page 10 of 10 PageID: 16
